       Case 17-01223         Doc 57      Filed 07/28/22 Entered 07/28/22 15:58:20                    Desc Main
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                                       United States Bankruptcy Court
                                    Northern District of Illinois, Eastern Division

IN RE: John J McNamara                                    )             Chapter 13
                                                          )             Case No. 17 B 01223
        Debtor(s)                                         )             Judge David D. Cleary

                                                 Notice of Motion

    John J McNamara                                                     Debtor Attorney: Sulaiman Law Group Ltd
    10441 Circle Dr., Unit 41C                                          via Clerk's ECF noticing procedures
    Oak Lawn, IL 60453




On August 08, 2022 at 1:00 pm, I will appear before the Honorable David D. Cleary, or any judge sitting in that
judge's place, and present this motion, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government. No personal
appearance in court is necessary or permitted. To appear and be heard on the motion, you must do the following:

   To appear by video, use this link: <https://www.zoomgov.com/>. Then enter the meeting ID and password.
   To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666. Then enter the
meeting ID and password.
   Meeting ID and password. The meeting ID for this hearing is 161 122 6457 and the password is Cleary644.
The meeting ID and password can also be found on the judge’s page on the court’s website.

If you object to this motion and want it called on the presentment date above, you must file a Notice of
Objection no later than two (2) business days before that date. If a Notice of Objection is timely filed, the motion
will be called on the presentment date. If no Notice of Objection is timely filed, the court may grant the motion in
advance without a hearing.

I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons named
above by U.S. mail or by the methods indicated on or before Friday, July 29, 2022.




                                                                        /s/ MARILYN O. MARSHALL
                                                                        MARILYN O. MARSHALL, TRUSTEE
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IN RE: John J McNamara                                        )              Chapter 13
                                                              )              Case No. 17 B 01223
         Debtor(s)                                            )              Judge David D. Cleary

                          Motion to Dismiss Case for Failure to Make Plan Payments

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed , pursuant to 11 U.S.C. §1307 [c]
[6], stating:

On January 16, 2017, the debtor filed a petition under Chapter 13 of the Bankruptcy Code which was confirmed by the Court
on July 31, 2017, for a term of 60 months with payments of $550 .00.

The status of the debtor's plan is:   Current Month         Cash Due          Cash Received       Payment Default
                                            66              $36,300.00         $34,650.00            $1,650.00

A summary of the 12 most recent receipt items is set forth below:            Report Date: 07/28/2022
                                                                             Due Each Month: $550.00
                                                                             Next Pymt Due: 08/15/2022

    Date           Ref Num            Amount                            Date          Ref Num          Amount
03/15/2021         7524927000          $550.00                      05/27/2021        7696000000         $550.00
05/28/2021         7697952000          $550.00                      06/02/2021        7714623000         $550.00
07/06/2021         7791601000          $550.00                      08/09/2021        7865672000         $550.00
09/06/2021         7932177000          $550.00                      10/11/2021        8006291000         $550.00
12/09/2021         8137052000          $550.00                      12/10/2021        8137060000         $550.00
01/06/2022         8194551000          $550.00                      04/21/2022        8415689000       $1,650.00

WHEREFORE, the Trustee prays that this case be dismissed , and for any and all other relief this court deems just and proper .

Office of the Chapter 13 Trustee                                             /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                           MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312)431-1300
